Case 3:25-cv-00514-AB   Document 1-15   Filed 03/26/25   Page 1 of 3




                  EXHIBIT 15
        Case 3:25-cv-00514-AB         Document 1-15         Filed 03/26/25   Page 2 of 3




ASOP Global Members
American Pharmacists Association
Amgen
Association for Accessible Medicines
Black Women’s Health Imperative
BlueChew
Butler University College of Pharmacy and Health Sciences
Consumer Health Information Corporation
Eli Lilly and Company
European Alliance for Access to Safe Medicines
The Gerontological Society of America
Gilead Sciences, Inc.
Indianapolis Coalition for Patient Safety
International Alliance for Patients’ Organizations
International Pharmaceutical Federation (FIP)
Italian Medicines Agency
LegitScript
Men’s Health Network
Merck & Co.
National Alliance on Mental Illness (NAMI)
National Consumers League
National Council for Mental Wellbeing
NeedyMeds
NOVA ScriptsCentral
Novartis
Partnership for Drug-Free Kids
Real Solutions Group
RefillWise
Ro
RESOLVE: The National Infertility Association
Rx Outreach
U.S. Pharmacopeial Convention (USP)
Visa, Inc.
Young People in Recovery (YPR)

ASOP Global Observers
American Association of Colleges of Pharmacy
Federation of State Medical Boards
National Association of Boards of Pharmacy
National Association of Chain Drug Stores


                                                                                   Exhibit 15
                                                                                   Page 1 of 2
        Case 3:25-cv-00514-AB          Document 1-15        Filed 03/26/25   Page 3 of 3




National Association of State Controlled Substance Authorities
National Health Council
Partnership for Safe Medicines
Pharmaceutical Research and Manufacturers of America
Pharmaceutical Security Institute
RX-360




                                                                                    Exhibit 15
                                                                                    Page 2 of 2
                                                                               Revised February 2025
